Northeast Wisconsin Technical Co|lege
Security lncident Report

Submitted on February 15, 2018 at 6.'36:25 pm CST

Nature: Security lncident
Urgency: Normal
incident Date and Time: 2018-02-14 10:24 AM
incident Location: Student Center (SC) SC305-General Studies Office
Regorted by
Name: Mike Jandrin
Title: Security Supervisor
Emai|:
Phone:
Address:
[UNAUTHENT|CATED]

lnvolved Parties

Polly O|sen (21715103)
Person of Concern

Description f Narrative--Select lncident tvpe(sl below»»lvlaximum 3 types

lncident Type
Suspicious activity and/or person

lncident Type

Narrative-Describe the events of this incident
On Wednesday, February 14, 2018, at approximately 10:27AM, the Security Department at NWTC received a

complaint, via the telephone, of a female student in the General Studies Office (SC305) passing out
Va|entine's Day cards with bible references on the cards. When this phone complaint was received, l (NWTC
Security Supervisor) immediately accessed the security camera for this area to see if this student was
captured on video. | also advised Security Officer Jesse Hagel to respond to the General Studies Office area
to attempt to locate this student. | further advised Hagel that if he located the female student that he should
bring her to the security office should l could discuss this matter with her. The student handing out the
Va|entine's Day cards was described as wearing a red dress.

Whi|e Hagel was looking for the student, l located the beginning of the event on the security camera video
footage. As | began watching this video, the female party handing out the cards appeared to be to be Polly
O|sen. l am aware of Polly O|sen as l was involved in an (a|most) identical incident with her three (3) years
ago, and have spoken to her numerous times since that incident three years ago.

On the video, the female is observed handing something to a male and a female student that are studying at
the table directly across the hall from the General Studies Office. The female is then observed walking into
the General Studies Office and handing something to four (4) females that are standing and conversing just
inside the doorway to the GS Office. The female is then observed going into Office Supervisor Angie
B|asier’s, unannounced and uninvited, forjust a few seconds, and leaving something on B|asier’s desk as
she departs from this office. The female is then observed walking into the back of the GS Office, where the
Associate Deans’ offices are, as well as the Dean of General Studies, and some cubic|es for other GS
employees. | continued watching the video for several more minutes and did not see the female come out of
the GS Office, leaving via the front (main) office door.

A few minutes |ater, Hagel returned to the security office. Polly O|sen was with Hage|. | asked O|sen to sit in
my office where we could discuss this incident private|y. She agreed to do so. lnitially, | explained to O|sen
that some people may consider her actions as soliciting, or find the message written on the card offensive. l
further explained that this was not the reason that | was having a conversation with her. | informed O|sen

Case 1:18-cv-01366-WCG Filed 09/04/18 Page 1 of 3 Document 1-2

that the reason for my discussion with her was for (possibly) disturbing the learning environment, and
walking into an area that is restricted to students without being invited or announced. At that time, O|sen
presented the “card” that she had been distributing today. The “card” was a hand-made heart, with the
words “He first loved usl 1 John 4:19. O|sen stated at this time that she was told three years ago that NWTC
would change their policy on this, and that nothing had happened during this three year time period, so she
thought she “get the ball rolling again” (not her exact words, but something to that affect).

At about this time, Security Coordinator Randy Schultz arrived in my office, and he was invited into our
conversation. Olson explained to Schultz the events that took place three years ago, as well as today’s
event. Olson stated to Schultz and | that we (the college) are violating her right to freedom of speech, as well
as discriminating against her for her religious beliefs. Schultz responded that we (Schultz and l-and the
college) were not denying her her right to free speech or discriminating against her because of her religious
beliefs. Schultz did explain to O|sen that l had explained to her, that we were discussing with her disrupting
the learning environment as well as going into areas, unannounced and uninvited, that are restricted to staff
members and where students are not permitted to walk into free|y. When | asked her specifically if she went
into the back portion of the GS office without being invited, she stated, “yes, but | know Cassie Reed”. | then
asked her if she left via the back door to that office area, she responded “yes”. Her rationale for walking into
the cubicle area of the GS Office was that she knew Cassie Reed. She did not ask anyone in the front portion
of the GS Office if Cassie was available, nor did she know for certain if Cassie was at her work station when
she chose to walk back into this area.

Schultz explained to O|sen that only a few weeks ago, he was invited to a meeting to discuss
revising/changing the college’s policy, and more specifically to address matters identical to the incident she
was involved in today.

At this time, O|sen presented some printed papers to Schultz that contained case law from other colleges
violated student’s right to free speech and discrimination. Also in those papers was some sort of
documentation from legislators and well as legal opinions. | did not specifically look at these papers,
however, Schultz did review some of the pages and asked to keep his copy. O|sen told Schultz it was alright
to keep the copies that he had.

O|sen further explained to Schultz and l that when the incident happened three years ago, she was promised
that the college would revise the policy in lieu of her not filing a discrimination law suit against the college.
There was a lengthy discussion between the three of us regarding the aftermath of the event several years
ago (meeting, discussions with Student Life Office staff, etc.) Several times, O|sen referenced her
willingness to file the discrimination law suit, and her not pursuing that course of action due to her being
promised that the college policy would be changed. Olson also explained to us that part of the reason for
her distributing these hearts was because it was something that her mother did for years at her place of
employment before her mother passed away a few years ago. Olson told us that part of the reason for her
actions was to continue on with her mother’s tradition/legacy, and the other part was because the college
had not anything in three years to change the policy and it was time to bring this matter forward again.
During the course of this part of our conversation, every time O|sen mentioned violating her right to free
speech or discrimination against her, Schu|z and l would reiterate that the purpose of our conversation was
in regards to disrupting the learning environment and going into areas of the college that students cannot
freely walk into. Our conversation with her was not about her right to free speech or discrimination.

At the end of the meeting, O|sen stated that she would not hand out any more of the Va|entine's Day hearts
on NWTC property today, as she had other places that she could distribute them.

Video footage of this incident is attached to this report.

lncluded below are notes/accounts of this conversation from Randy Schultz.

Statement of Randy S. Schultz:

On 02-14-18 in walking into Security Supervisor Mike Jandrins’ office | interrupted a conversation he was
having with student Polly Olsen.

l learned that Polly had recently been passing out red heart shaped valentines and in doing so walked past
the reception desk in General Studies (SC305) and into the office cubicle area not normally open to students.
Security was called and Mike found Polly. l was then informed of their last meeting, about 3 years ago, when
Polly was dressed in a clown suit and passing out valentines. Polly expressed her displeasure with Student
involvement at that time and was concerned that nothing was ever done with her complaint.

As we talked about today’s issue she repeatedly tried to make it appear that the concern of employees and
security was the Christian content of her valentines. Mike and | repeatedly informed her that it wasn’t. Our
concern was only that she was in an area not normally open to students and in today’s environment that
concerns employees.

Case 1:18-cv-01366-WCG Filed 09/04/18 Page 2 of 3 Document 1-2

Polly made it clear that she wished to file a formal complaint over “Discrimination” due to today’s issue and
the issue three years ago that was never resolved. She indicated she had legal counsel and was a paralegal
student. We asked her to e-mail her writing from three years ago and to include writing about today’s issue.
Mike completed an lncident Report.

Polly agreed and was professional. We both agreed to exchange e-mail addresses and to forward any newly
published information on this current topic of mutual interest.

End of Report, 02-15-18

lncluded below are notes/accounts of this conversation from Polly Olsen.
“Jesus Loves You” Va|entines report

Date: February 14th ,2018

Time:10:10 am -11:30 am

Where: NWTC Green Bay Campus

Event lnformation:
At 10:10 am, Polly O|sen entered the NWTC Green Bay campus Bl building with a bag full of “Jesus Loves

You” Va|entines for fellow students, friends and faculty. Short|y after leaving the General studies office,
where her friends work, campus security was sent to stop Olsen at about 10:20 am from handing out the
“Jesus Loves You” Va|entines. O|sen offered the security guard a Va|entine like everyone else, he refused
and said it was because he was here to stop O|sen from soliciting on campus. O|sen was then taken to the
security office and told that she was not allowed to hand the Va|entines out because school policy prohibits
it. O|sen then handed them a copy of the 1st amendment rights for students and said that the school policies
are unconstitutional and need to be changed. Like she was told they would three years ago when a similar
incident accused. That incident could have ended up in court if the agreement to have the campus policies
changed and the education of staff about the 1st amendment rights had not been agreed upon by campus
staff. Clearly, NWTC has not changed the policies or educated their staff about the constitutional rights of
the student. O|sen then left the office at about 11:30 am.

Attachments

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Pend/'ng /R #00002865
Subm/'tfed from 198.150.66.2 and routed to Michae/ Jandrin (Secun'ty Supen/isor). Processed by routing rule #22.

Cop/'es to: john.grant@nwtc.edu,kelly.schumacher@nwtc.edu,randy.schultz@nwtc.edu,mark.franks@nwtc.edu,

Case 1:18-cv-Ol366-WCG Filed 09/04/18 Page 3 of 3 Document 1-2

